141 F.3d 1168
    NOTICE:  Eighth Circuit Rule 28A(k) governs citation of unpublished opinions and provides that they are not precedent and generally should not be cited unless relevant to establishing the doctrines of res judicata, collateral estoppel, the law of the case, or if the opinion has persuasive value on a material issue and no published opinion would serve as well.Rick Lee GROVE, Appellant,v.BUREAU OF PRISONS;  Martha Jordan, Warden, Appellees.
    No. 98-1240.
    United States Court of Appeals, Eighth Circuit.
    Submitted Feb. 11, 1998Decided Feb. 25, 1998.
    
      Appeal from the United States District Court for the District of Minnesota
      Before McMILLIAN, LOKEN, and MURPHY, Circuit Judges.
      PER CURIAM.
    
    
      1
      Rick Lee Grove appeals from a final order of the United States District Court for the District of Minnesota, summarily dismissing with prejudice Grove's 28 U.S.C. § 2241 petition for a writ of habeas corpus.  In light of our recent decision in Martin v. Gerlinski, No. 97-2232, 1998 WL 7258 (8th Cir.  Jan. 13, 1998), and for the reasons discussed therein, we reverse the judgment of the district court and remand the case to the district court with instructions to refer the case to the Bureau of Prisons to properly consider Grove's eligibility for a sentence reduction under 18 U.S.C. § 3621(e)(2)(B).  See 8th Cir.  R. 47A(a).
    
    